Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    1 Date   02/09/11   Page 1 ofEntry
                                                    02/09/2011    14 PageID   #: 10646
                                                                       ID: 5525309




               United States Court of Appeals
                             For the First Circuit

  No. 10-2145

                               EFRAT UNGAR ET AL.,

                             Plaintiffs, Appellees,

                                         v.

                             YASSER ARAFAT ET AL.,

                             Defendants, Appellees,
                                 _______________

       THE PALESTINIAN PENSION FUND FOR THE STATE ADMINISTRATIVE
                      EMPLOYEES IN THE GAZA STRIP,

                               Movant, Appellant.


               APPEAL FROM THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF RHODE ISLAND

              [Hon. Ronald R. Lagueux, U.S. District Judge]


                                       Before

                             Lipez, Circuit Judge,
                          Souter,* Associate Justice,
                           and Selya, Circuit Judge.



       Deanne E. Maynard, with whom Brian R. Matsui, Charles L. Kerr,
  Mark David McPherson, Morrison & Foerster LLP, Joseph V. Cavanagh,
  Jr., Joseph V. Cavanagh, III, and Blish & Cavanagh LLP were on
  brief, for appellant.
       Robert J. Tolchin, with whom Jaroslawicz & Jaros LLC, David J.


        *
        Hon. David H. Souter, Associate Justice (Ret.) of the Supreme
  Court of the United States, sitting by designation.
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    2 Date   02/09/11   Page 2 ofEntry
                                                    02/09/2011    14 PageID   #: 10647
                                                                       ID: 5525309



  Strachman, and McIntyre, Tate & Lynch, LLP were on brief, for
  plaintiffs-appellees.




                                February 9, 2011
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    3 Date   02/09/11   Page 3 ofEntry
                                                    02/09/2011    14 PageID   #: 10648
                                                                       ID: 5525309



              SELYA, Circuit Judge. This appeal, brought by a putative

  intervenor, has its genesis in an injunction issued in a bitter

  dispute between victims of terrorist violence and governmental

  entities in the Palestinian territories.            The putative intervenor

  claims that the injunction, which does not refer to it by name,

  has frozen its assets.       The district court rejected this claim and

  denied the motion to intervene.           After careful consideration, we

  conclude that the putative intervenor has failed to demonstrate

  that it has a sufficient interest in the underlying action to

  justify intervention as of right.            Accordingly, we affirm.

  I.   BACKGROUND

              The underlying action has narrowed to a dispute between

  the estate of Yaron Ungar, on the one hand, and the Palestinian

  Authority (PA) and the Palestine Liberation Organization (PLO), on

  the other hand.       The litigation has been extensively chronicled.

  See, e.g., Ungar v. PLO (Ungar II), 599 F.3d 79 (1st Cir. 2010);

  Ungar v. PLO (Ungar I), 402 F.3d 274 (1st Cir. 2005).               We rehearse

  here only those facts needed to bring this appeal into perspective.

  Readers who hunger for more detail should consult our earlier

  opinions.

              While in Israel, Yaron Ungar, a citizen of the United

  States, and his wife Efrat were ambushed and murdered by terrorists

  affiliated with the Hamas Islamic Resistance movement. In March of

  2000, the personal representative of Ungar's estate (the Estate)


                                         -3-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    4 Date   02/09/11   Page 4 ofEntry
                                                    02/09/2011    14 PageID   #: 10649
                                                                       ID: 5525309



  brought suit in the United States District Court for the District

  of Rhode Island against the PA and the PLO under the Anti-Terrorism

  Act (ATA), 18 U.S.C. §§ 2331-2338.1               The ATA permits, inter alia,

  recovery         for    United    States   nationals       injured      by   acts    of

  international terrorism.            Id. § 2333(a).

                   We fast-forward to July 12, 2004, when the district court

  entered a default judgment for more than $116,000,000 against the

  PA and the PLO.         We affirmed that order.       Ungar I, 402 F.3d at 293-

  94.        Since then, the defendants have engaged in a series of

  determined efforts to set aside the judgment.                   Although they have

  not succeeded thus far, their efforts are still ongoing.                            See,

  e.g., Ungar II, 599 F.3d at 87.

                   To aid in the collection of the judgment, the district

  court,      on    the   Estate's    motion,      granted   an   injunction.         The

  injunction, issued on May 5, 2005, restrained the PA, the PLO, and

  "their officers, agents, servants, employees, . . . fiduciaries,

  and any natural or legal persons in privity with them and/or acting

  on    their       behalf"   from    selling,      transferring,         or   otherwise

  alienating any of their property located within the United States.

  As    the    defendants     had    no   known    assets    in   Rhode    Island,    the

  injunction was intended to allow the Estate to domesticate the

  judgment in other states — states in which assets could be found.



         1
         There were originally other plaintiffs and defendants, but
  their identities are of no consequence here.

                                             -4-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    5 Date   02/09/11   Page 5 ofEntry
                                                    02/09/2011    14 PageID   #: 10650
                                                                       ID: 5525309



  By its terms, the injunction was to remain in place until further

  order of the court.       It contained no bond requirement.

              With the injunction in hand, the Estate proceeded to

  notify a galaxy of financial institutions of the injunction's

  existence.       Pertinently,     this   roster    included    Swiss   American

  Securities, Inc. (SASI), a New York-based affiliate of Credit

  Suisse.    SASI held the assets of the Palestinian Pension Fund for

  the State Administrative Employees in the Gaza Strip (the Fund).

  Despite the Fund's protestation that it was not affiliated in any

  way with the PA or the PLO, SASI froze the Fund's assets.

              Litigation in a New York state court ensued. On February

  14, 2006, the Estate filed both a turnover action and a declaratory

  judgment action against SASI and the Fund.             The state court judge

  held a hearing and concluded that the Estate had not produced

  sufficient evidence to warrant a turnover order.              Accordingly, she

  dismissed the turnover action without prejudice.

              The declaratory judgment action soldiered on.               After a

  period of pretrial discovery, the Estate and the Fund cross-moved

  for summary judgment.          On June 5, 2008, the state court judge

  concluded that genuine issues of material fact precluded her from

  granting either motion.

              As the New York case proceeded, the parties began to

  wrangle over the availability of a jury trial.                 When the court

  denied the Fund's motion to strike the Estate's jury trial demand,


                                         -5-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    6 Date   02/09/11   Page 6 ofEntry
                                                    02/09/2011    14 PageID   #: 10651
                                                                       ID: 5525309



  the Fund moved to stay the action pending resolution of (i) its

  interlocutory appeal of that ruling, and (ii) the defendants'

  motion in the Rhode Island federal case to vacate the underlying

  default    judgment.      The   stay    was     granted   and    the   declaratory

  judgment action remains pending.

              On August 18, 2010, the Fund opened a second front in its

  campaign against the Estate: it moved in the federal district court

  for leave to intervene as of right in the original action.                      Its

  stated    purpose    in   intervening     was     to   vacate     or   modify   the

  injunction.2    In the alternative, it sought to have the Estate post

  a bond to ensure recompense for any losses resulting from the

  freezing of its assets.         The Estate opposed the motion.

              The district court heard arguments on September 21, 2010.

  Ruling ore tenus, the court denied the motion.                  It noted that the

  injunction applied only to the PA, the PLO, and those in privity

  with them.     The factual question of whether the Fund fell within

  the scope of the injunction was being litigated in New York and

  permitting     intervention      to    thrash    out   that      question   would,

  therefore, result in wasteful duplication of effort.

              This timely appeal followed.



        2
         In its brief, the Fund characterizes this injunction as a
  preliminary one.   But when the district court observed at the
  hearing on the motion to intervene that the injunction had been
  made permanent, the Fund's counsel agreed.       We regard that
  concession as binding. See, e.g., CMM Cable Rep., Inc. v. Ocean
  Coast Props., Inc., 48 F.3d 618, 622 (1st Cir. 1995).

                                          -6-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    7 Date   02/09/11   Page 7 ofEntry
                                                    02/09/2011    14 PageID   #: 10652
                                                                       ID: 5525309



  II.   ANALYSIS

              An order denying a motion to intervene as of right is

  immediately appealable as a collateral order.              R & G Mortg. Corp.

  v. Fed. Home Loan Mortg. Corp., 584 F.3d 1, 7 (1st Cir. 2009); Pub.

  Serv. Co. of N.H. v. Patch, 136 F.3d 197, 204 (1st Cir. 1998).

  Consequently, we have jurisdiction to consider this appeal.

                           A.   The Legal Landscape.

              Under the Civil Rules, intervention comes in two flavors:

  intervention as of right, Fed. R. Civ. P. 24(a), and permissive

  intervention, Fed. R. Civ. P. 24(b).               The Fund has framed its

  motion as a motion to intervene as of right.                     We cabin our

  discussion accordingly.3        Negrón-Almeda v. Santiago, 528 F.3d 15,

  21 (1st Cir. 2008).

              Specifically, the Fund invokes Rule 24(a)(2).                In the

  absence of a triggering federal statute — and none is involved here

  — Rule 24(a)(2) provides an authoritative recipe that lists the

  essential ingredients for intervention as of right:

              On timely motion, the court must permit anyone
              to intervene who . . . claims an interest
              relating to the property or transaction that
              is the subject of the action, and is so


        3
         Inasmuch as the Fund did not seek permissive intervention
  below and has not advanced such a claim in this court, any claim
  for permissive intervention is waived. See Teamsters Union, Local
  No. 59 v. Superline Transp. Co., 953 F.2d 17, 21 (1st Cir. 1992)
  (holding that theories not raised squarely in the trial court
  cannot be raised for the first time on appeal); United States v.
  Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (explaining that arguments
  not briefed on appeal are deemed waived).

                                         -7-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    8 Date   02/09/11   Page 8 ofEntry
                                                    02/09/2011    14 PageID   #: 10653
                                                                       ID: 5525309



              situated that disposing of the action may as a
              practical matter impair or impede the movant's
              ability to protect its interest, unless
              existing parties adequately represent that
              interest.

  It follows that a would-be intervenor must demonstrate that: (i)

  its motion is timely; (ii) it has an interest relating to the

  property or transaction that forms the foundation of the ongoing

  action; (iii) the disposition of the action threatens to impair or

  impede its ability to protect this interest; and (iv) no existing

  party adequately represents its interest.             See R & G Mortg., 584

  F.3d at 7; Travelers Indem. Co. v. Dingwell, 884 F.2d 629, 637 (1st

  Cir. 1989).     Each of these requirements must be fulfilled; failure

  to satisfy any one of them defeats intervention as of right.                   B.

  Fernández & Hnos., Inc. v. Kellogg USA, Inc., 440 F.3d 541, 545

  (1st Cir. 2006); Patch, 136 F.3d at 204.

              Determining whether the necessary showings have been made

  requires a series of judgment calls — a balancing of factors that

  arise in highly idiosyncratic factual settings.                See Patch, 136

  F.3d at 204; Int'l Paper Co. v. Inhab. of Town of Jay, 887 F.2d

  338, 344 (1st Cir. 1989).         Moreover, the "inherent imprecision of

  Rule 24(a)(2)'s individual elements" dictates that the rule should

  be applied with an eye toward the "commonsense view of the overall

  litigation."      Patch, 136 F.3d at 204 (citing United States v.

  Hooker Chems. & Plastics Corp., 749 F.2d 968, 983 (2d Cir. 1984)

  (Friendly, J.)).


                                         -8-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656 Filed Filed:
                                    9 Date   02/09/11   Page 9 ofEntry
                                                    02/09/2011    14 PageID   #: 10654
                                                                       ID: 5525309



               The grant or denial of a motion to intervene engenders

  review for abuse of discretion.          R & G Mortg., 584 F.3d at 7; Int'l

  Paper, 887 F.2d at 344.             In the context of intervention as of

  right,    "the      district   court's       discretion   is   somewhat     more

  circumscribed than in the context of intervention generally."

  Negrón-Almeda, 528 F.3d at 22; B. Fernández, 440 F.3d at 544; see

  Int'l Paper, 887 F.2d at 344.          If the district court either fails

  to follow the general recipe provided in Rule 24(a)(2) or reaches

  a plainly incorrect decision, we will intrude.             Patch, 136 F.3d at

  204; Int'l Paper, 887 F.2d at 344.

                                 B.    The Merits.

               With this landscape in place, we turn to the Fund's

  assignments of error.

               The Fund first claims that the district court abused its

  discretion     by    failing   to    cogitate    the   requirements    of   Rule

  24(a)(2).     This claim lacks force.

               The district court denied the motion to intervene in a

  bench decision.       It did not subdivide its analysis into discrete

  silos.     Nevertheless, its findings and reasoning can easily be

  inferred from the record.           Thus, we can gauge whether the court

  applied the Rule 24(a)(2) factors appropriately.                   No more is

  exigible.4    See Geiger v. Foley Hoag LLP Ret. Plan, 521 F.3d 60, 64


        4
         In any event, an appellate court is not wedded to the trial
  court's reasoning but, rather, may affirm a judgment on any
  independently sufficient ground made manifest in the record. Banco

                                         -9-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656
                                    10 Filed
                                        Date02/09/11   Page 10 ofEntry
                                             Filed: 02/09/2011    14 PageID   #: 10655
                                                                       ID: 5525309



  (1st Cir. 2008); Cotter v. Mass. Ass'n of Minority Law Enf.

  Officers, 219 F.3d 31, 34 (1st Cir. 2000).

               The Fund's most loudly bruited claim is that it is

  entitled to intervene as of right because it satisfied all of the

  factors elaborated in Rule 24(a)(2). This claim comprises more cry

  than wool.    We need not venture beyond the second requisite of Rule

  24(a)(2) — that the movant have an "interest relating to the

  property or transaction that is the subject of the action" — in

  order to debunk this claim.

               It is black-letter law that an aspiring intervenor's

  claim "must bear a sufficiently close relationship to the dispute

  between the original litigants." Travelers Indem., 884 F.2d at 638

  (internal quotation marks omitted).           Although this requirement is

  not amenable to a surgically precise definition, we know that the

  interest must be direct and "significantly protectable." Donaldson

  v. United States, 400 U.S. 517, 531 (1971); see Patch, 136 F.3d at

  205; 7C Charles Alan Wright, Arthur R. Miller & Mary Kay Kane,

  Federal Practice & Procedure § 1908.1, at 309 (3d ed. 2007).                  An

  interest that is too contingent or speculative — let alone an

  interest that is wholly nonexistent — cannot furnish a basis for

  intervention as of right.         See Travelers Indem., 884 F.2d at 638;




  Popular de P.R. v. Greenblatt, 964 F.2d 1227, 1230 (1st Cir. 1992).


                                        -10-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656
                                    11 Filed
                                        Date02/09/11   Page 11 ofEntry
                                             Filed: 02/09/2011    14 PageID   #: 10656
                                                                       ID: 5525309



  Moosehead Sanitary Dist. v. S.G. Phillips Corp., 610 F.2d 49, 53

  (1st Cir. 1979).

               The Fund asserts that it possesses the requisite interest

  because the injunction, as a practical matter, is restraining its

  assets. In the same breath, however, it assures us that the assets

  in question do not belong to either the PA or the PLO (and, thus,

  do not come within the sweep of the injunction).             To the contrary,

  "those assets belong to [the Fund] alone."            Appellant's Br. at 26.

  This assurance defenestrates the claimed interest in the ongoing

  action.

               At the expense of carting coal to Newcastle, let us

  explain this conclusion.        The injunction, as written, applies only

  to assets of the PA, the PLO, and their privies.             The Fund insists

  that it is not in any way associated with either the PA or the PLO,

  nor is it in privity with them.              It proclaims instead that the

  assets frozen by SASI belong only to it and that, therefore, the

  injunction does not reach those assets.             Nor does the Fund claim

  any legally cognizable interest in the civil case arising from the

  Ungars' murders.

               To satisfy the "interest" requirement, the Fund would

  have to assert, at a minimum, that it has something at stake in the

  underlying action or that it possesses some tie to either the

  defendants or their assets.        This is the polar opposite of what the

  Fund claims.      It follows inexorably that the Fund cannot meet the


                                        -11-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656
                                    12 Filed
                                        Date02/09/11   Page 12 ofEntry
                                             Filed: 02/09/2011    14 PageID   #: 10657
                                                                       ID: 5525309



  interest requirement; it simply has no interest that is at risk in

  the ongoing litigation.

               The short of it is that the Fund wants to challenge the

  injunction while at the same time insisting that the injunction

  does not apply to it.          The Fund cannot have it both ways.            Cf.

  United States v. Tierney, 760 F.2d 382, 388 (1st Cir. 1985)

  ("Having one's cake and eating it, too, is not in fashion in this

  circuit.").

               The   district    court    perspicaciously      recognized     this

  reality.     It noted that the language of the injunction was clear

  and "only applie[d] to the PA and the PLO."                It then noted the

  Fund's    insistence    that    it   was   a   separate,   unrelated    entity.

  Finally, it concluded that the Fund's asserted interest "doesn't

  have anything to do" with the underlying dispute.                This was, we

  think, an implicit recognition that the Fund had failed to satisfy

  the "interest" prong of Rule 24(a)(2).5            In so holding, the court

  acted comfortably within the confines of its discretion.

               There are two loose ends.         We pause to tie them tightly.




        5
         Even if the Fund could show a sufficient interest in the
  ongoing litigation (which it cannot do), it would still have to
  satisfy the other three requirements of Rule 24(a)(2). We doubt
  that it could. To cite but one example, the Fund would have to
  show that its motion to intervene was timely. See R & G Mortg.,
  584 F.3d at 10.    This requirement would likely prove to be an
  insurmountable hurdle, given that the Fund knew of the injunction
  and its potentially deleterious effects more than five years before
  it sought to intervene in the underlying action.

                                         -12-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656
                                    13 Filed
                                        Date02/09/11   Page 13 ofEntry
                                             Filed: 02/09/2011    14 PageID   #: 10658
                                                                       ID: 5525309



               First, the Fund's claim that the injunction prevents it

  from managing the assets held at SASI misses the mark.                It is not

  the injunction that is the problem; it is the Fund's inability to

  date to prove that the assets are unaffected by the injunction.

  That, of course, is the subject of the New York declaratory

  judgment proceeding, where the issue may be resolved.

               Second, the Fund's claim that the Estate should have been

  required to post a bond under Rule 65(c) is baseless.6                    For one

  thing, the injunction is no longer            preliminary, see supra note 2,

  so Rule 65(c) does not apply to it at all.                Ty, Inc. v. Publ'ns

  Int'l Ltd., 292 F.3d 512, 516 (7th Cir. 2002); accord Forest Park

  II v. Hadley, 336 F.3d 724, 734 (8th Cir. 2003).                    For another

  thing, "[t]he purpose of the injunction bond rule is to provide

  protection to a defendant who is under injunction . . . but who

  ultimately prevails on the merits."              Commerce Tankers Corp. v.

  Nat'l Mar. Union of Am., 553 F.2d 793, 800 (2d Cir. 1977); see 11A

  Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal

  Practice & Procedure § 2954, at         305-06 (2d ed. 1995).       The Fund is

  not   a   defendant    and   insists    that    it   is   not   subject   to   the




        6
         Rule 65(c) states, in pertinent part: "The court may issue
  a preliminary injunction or a temporary restraining order only if
  the movant gives security in an amount that the court considers
  proper to pay the costs and damages sustained by any party found to
  have been wrongfully enjoined or restrained."      Fed. R. Civ. P.
  65(c).

                                         -13-
Case 1:00-cv-00105-L-DLM
  Case:  10-2145 Document:Document
                           52 Page:656
                                    14 Filed
                                        Date02/09/11   Page 14 ofEntry
                                             Filed: 02/09/2011    14 PageID   #: 10659
                                                                       ID: 5525309



  injunction.      Thus, the Fund lacks standing to complain about the

  absence of a bond.

  III.    CONCLUSION

               The Fund is not without an adequate remedy.           It has been

  litigating in the New York state courts to vindicate its position

  that its assets are separate and apart from those of the PA and the

  PLO.    That forum is competent to settle the question of who owns

  the Fund's assets.

               We need go no further.       There is no principled way that

  we can allow the Fund to intervene as of right in a case in which

  it has no legally cognizable interest.



  Affirmed.




                                        -14-
